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                              UNITED STATES DISTRICT COURT

                              EASTERN DISTRICT OF WISCONSIN

                                            CASE NO. 2:20-cv-01531
SEAN AND TAMINA BURKE,

                        Plaintiffs,         COMPLAINT FOR DAMAGES:

       v.                                     1. Violation of Fair Credit Reporting Act

Experian Information Solutions, Inc.;
Equifax, Information Services, LLC;
TransUnion, LLC; and JPMorgan Chase
Bank, N.A.

                        Defendants.




COMES NOW Plaintiffs Sean and Tamina Burke, individuals, based on information and belief,
to allege as follows:
                                      INTRODUCTION
   1. This case arises under the Fair Credit Reporting Act, 15 U.S.C. § 1681s-2(b), 15 U.S.C.
       § 1681e(b), 15 U.S.C. § 1681i(a)(2)(A)), 15 U.S.C. § 1681i(a)(4)), and 15 U.S.C.
       §1681i(a)(5)(A)).




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2. Plaintiffs seek redress for the unlawful and deceptive practices committed by the
   Defendants in connection with their inaccurate, misleading, or incomplete reporting of
   Plaintiffs’ mortgage accounts with JPMorgan Chase Bank, N.A. (hereinafter “Chase”).
3. Here, Chases continue to report inaccurate and incomplete information regarding
   Plaintiffs’ mortgage account.
4. Defendant Chase is reporting that Plaintiffs’ mortgage is included in an active chapter
   13, despite Plaintiffs no longer being in a chapter 13 bankruptcy proceeding.
5. To the extent the Chase mortgage account has been transferred, Chase has failed to
   follow industry standards for transferring an account, resulting in the situation where
   the same account appears twice on Plaintiffs’ credit report in contradictory fashion –
   one adverse and one positive.
6. Such reporting is misleading and adversely impacts Plaintiffs’ credit worthiness.
7. Plaintiffs’ credit has been damaged as a result of the inaccurate and misleading
   reporting and they have been unable to qualify for loans or a mortgage as a result of
   their credit score due to the reporting of Chase.
8. The United States Congress has found the banking system is dependent upon fair and
   accurate credit reporting. Inaccurate credit reports directly impair the efficiency of the
   banking system, and unfair credit reporting methods undermine the public confidence,
   which is essential to the continued functioning of the banking system.
9. Creditors know that by deviating from recognized credit reporting standards consumers
   will have difficulty raising their credit scores and improving their credit worthiness.
                             JURISDICTION & VENUE
10. Plaintiffs re-allege and incorporate herein by reference the allegations in each and every
   paragraph above, fully set forth herein.
11. This Court has jurisdiction under 28 U.S.C. §§ 1331, 1337, and 1367, and 15 U.S.C. §
   1681
12. This venue is proper pursuant to 28 U.S.C. §1391(b)(1).
                             GENERAL ALLEGATIONS


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13. Plaintiffs allege that each and every Defendant is familiar with credit reporting industry
   standards and subscribes thereto.
14. Plaintiffs allege that each and every Defendant understands that deviation from credit
   reporting industry standards can and often does result in denial of credit, higher interest
   rates, and prompts those making credit decisions to draw a more negative inference
   from the reported data than if the Defendant reported in accordance with the recognized
   industry standard.
15. Plaintiffs allege that all actions alleged herein by Defendants were done knowingly,
   intentionally, and in reckless disregard for credit reporting industry standards in an
   attempt to purposefully undermine Plaintiffs’ attempt to improve their FICO Score.
16. In the alternative Plaintiffs allege that each and every Defendants’ actions were the
   result of reckless policies and procedures that inevitably led to inaccurate, misleading,
   or incomplete credit reporting.
                   FICO, Inc.
17. FICO is a leading analytics software company with its principal headquarters located in
   San Jose California. FICO has over 130 patents related to their analytics and decision
   management technology, and regularly uses mathematical algorithms to predict
   consumer behavior including credit risk.
18. The FICO Score has become the standard measure of consumer credit risk in the United
   States and is used in ninety percent of lending decisions.
19. A FICO score consists of a three-digit number summarizing a consumer’s credit risk or
   likelihood to repay a loan. FICO periodically updates its scoring models resulting in
   multiple FICO Score versions.
20. Base FICO Scores range from 300 to 850, while industry-specific FICO Scores range
   from 250-900. A higher FICO Score demonstrates lower credit risk or less likelihood of
   default.
21. Different lenders use different versions of FICO Scores when evaluating a consumer’s
   credit worthiness.


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22. There are 28 FICO Scores that are commonly used by lenders.
23. A consumer’s FICO Score is calculated based solely on information in consumer credit
   reports maintained at credit reporting agencies (CRAs).
24. The three largest CRAs are Experian Information Solutions, Inc.; Equifax, Inc. and
   Transunion, LLC.
25. FICO does not control what information is provided on a consumer’s credit report.
   Instead, the scoring models or algorithms are based on the premise that information
   provided by the CRAs is accurate and complies with credit reporting industry
   standards.
26. There are five key factors that a FICO Score considers: 1) Payment History, 2) Amount
   of Debt, 3) Length of Credit History 4) New Credit and 5) Credit Mix.
27. Each of the five factors is weighted differently by FICO.
28. 35% of a consumer’s FICO Score relates to payment history, 30% relates to the amount
   of debt, 15% relates to the length of credit history, 10% relates to new credit, and the
   last 10% relates to a consumer’s credit mix or the different types of debts reported.
29. Payment history refers to whether a consumer has paid their bills in the past, on time,
   late or missed payments. The more severe, recent, and frequent the late payment
   information, the greater the impact on a FICO Score. Public record items such as
   bankruptcy, foreclosure, judgments, and wage garnishments are also considered part of
   a consumer’s payment history.
30. In factoring the severity of delinquent payments, a FICO Score considers how late the
   payment continues to be, how much is owed, how recently this occurred, and how
   many delinquent accounts exist.
31. Once a delinquent account has been remedied the longer the account stays current the
   more a consumer’s FICO Score should increase.
32. FICO Scores are entirely dependent upon information provided by data furnishers
   (DFs) to CRAs.
                   e-OSCAR


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33. E-OSCAR is the web-based Metro 2 compliant system developed by Experian
   Information Solutions, Inc.; Equifax Information Services, LLC; TransUnion, LLC and
   Innovis that enables DFs and CRAs to create and respond to consumer credit disputes.
34. When a consumer sends a dispute letter to a CRA the CRA then sends an automated
   credit dispute verification (ACDV) via e-Oscar to the DF.
35. The ACDV contains within it Metro 2 codes next to certain data fields associated with a
   credit file e.g. “Account Type” “07” (07 in Metro 2 refers to a Charge Account).
                   Metro 2
36. The Consumer Data Industry Association is an international trade association
   representing the consumer credit, mortgage reporting, employment and tenant screening
   and collection service industries.
37. The credit reporting industry has adopted a standard electronic data reporting format
   called the Metro 2 format. The Metro 2 format was developed by the CDIA in an effort
   to universally report debts in a particular manner that is understood to be the most
   accurate way in which to report a debt. Specifically, Metro 2 format was designed to
   allow reporting of the most accurate and complete information on consumer’s credit
   history.
38. The CDIA’s Metro 2 format is the credit reporting industry standard for accurate credit
   reporting.
39. The credit reporting industry at large depends upon Metro 2 and the CDIA’s
   recommendations for reporting debt accurately.
40. The CDIA is the expert on accurate credit reporting. In support of his allegations Plaintiff
   avers the following:
       a. The CDIA offers a FCRA certificate program for all CRAs.
       b. The CDIA offers a FCRA awareness program for all CRAs.
       c. The CDIA offers a FCRA Certificate program for DFs.
       d. The CDIA offers a FCRA awareness program for DFs.




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       e. The CDIA offers a Metro 2 Learning system to provide detailed instructions on
           the use of Metro 2 format to ensure understanding of the reporting guidelines for
           each field of the Metro 2 Format as well as the relationship between multiple
           fields.
       f. The CDIA hosts workshops developed and authorized by Equifax, Experian,
           Innovis, and Transunion.
       g. The CDIA developed a credit reporting resource guide for accurately reporting
           credit.
41. The CDIA’s Metro 2 is accepted by all CRAs.
42. The credit reporting accepted industry standards for reporting Metro 2 accurately are
   found in the CDIA’s credit reporting resource guide (CRRG).
43. The CRRG outlines the industry standards for most accurately reporting debts using
   Metro 2.
44. The three main credit bureaus helped draft the CRRG.
45. The CRRG is not readily available to the public. It can be purchased online for $229.45.
46. Even if a buyer is ready willing and able to pay for the CRRG, the CDIA will NOT grant
   access to the guide unless the buyer represents an organization included in the Metro 2
   Access Policy.
47. When FICO calculates credit scores the algorithms use Metro 2 information based on
   industry standards established by the CDIA.
48. The algorithms used by FICO in determining a consumer’s credit score are premised on
   the Metro 2 data received comporting with the CDIA’s recommendations for accurate
   credit reporting.
49. If the Metro 2 data received by FICO deviates from industry standards an inaccurate or
   incorrect FICO Score results. If the resulting FICO Score is lower a consumer will be
   considered a higher credit risk resulting in less favorable lending terms.
50. All three major CRAs are members of the CDIA




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51. The CDIA is on record that they know, understand, and accept mortgages are generally
   non-dischargeable under 11 U.S.C. §1328(c)(1) and 11 U.S.C. § 1322(b)(5).
           Consumer Information Indicator
52. When a consumer files for bankruptcy protection certain credit reporting industry
   standards exist.
53. Certain Metro 2 data is regularly expected and calculated by FICO when determining a
   consumer’s credit worthiness.
54. The Consumer Information Indicator (CII) is a critical field in the Metro 2 Format that
   indicates a special condition that applies to a specific consumer.
55. Under Metro 2 the CII must be reported only on the consumer to whom the information
   applies.
56. It is the credit reporting industry standard to report a very specific CII upon the filing of
   a consumer bankruptcy.
57. In the consumer bankruptcy context CII Metro 2 Code “A” denotes that a petition for
   Chapter 7 has been filed, is active, but no discharge has been entered.
58. CII Metro 2 Code “D” indicates that a Chapter 13 petition has been filed, is active, but
   no discharge entered. There is usually translated on a consumer credit report as “Wage
   Earner Plan” or “WEP” in the “Account Status” portion of a trade line. Such reporting
   alerts any potential lender that the account is no longer in a collectable status but is being
   handled by a Chapter 13 trustee.
59. The CII Metro 2 Code “Z” indicates that a bankruptcy petition has been filed but the
   chapter is undesignated/unknown.
60. The CII Metro 2 Code “E” denotes that a Chapter 7 bankruptcy has been discharged.
61. The CII Metro 2 Code “H” denotes that a Chapter 13 bankruptcy has been discharged.
62. The CII Metro 2 Code “Q” is used when a bankruptcy plan is complete and will remove
   prior bankruptcy codes on the account; the CII Q is used on liabilities that are not
   discharged in bankruptcy (such as a mortgage).




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63. The CII field is a critical field for consumers and directly relates to and impacts a
   consumer’s credit worthiness.
64. Failure to update the CII to a “Q” on a secured non-discharged debt results in it appearing
   that a consumer, like Plaintiffs, included an account in a bankruptcy proceeding despite
   not having done so.
65. It also may result (as is the case here) where it appears an account continues to be in an
   active bankruptcy when in fact no bankruptcy case is pending.
66. It also results in the account being calculated as a major derogatory or adverse account
   despite the fact it was not included or discharged.
67. The result lowers a consumer’s credit score and makes a consumer appear much less
   credit worthy.
   Transferring Accounts
68. Its common practice for lenders to transfer accounts to other lenders and or service
   providers.
69. While the CRRG does give guidance on how to properly report transferred accounts the
   CRRG does not address how a data furnisher should update the consumer information
   indicator upon transfer.
70. The CRRG does, however, state that the “PREFERED OPTION,” if account history can
   be verified, results in a single trade line being reported upon transfer.
71. Specifically, that upon transfer the new lender updates the account number and retains
   all previous history on the account.
72. Here, Chase’s failure to follow the preferred option has resulted in Plaintiffs having two
   trade lines representing the same debt/account but reported in dramatically different
   fashions leading to an inaccurate and misleading picture regarding Plaintiffs’ account.
73. Specifically, Chase’s reporting makes it appear that: 1) Plaintiffs remain in an active
   bankruptcy, and 2) the mortgage accounts non-dischargeability has not been adjudicated;
   both are facially inaccurate and both lower Plaintiffs’ creditworthiness.
           Plaintiffs’ Dispute


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74. On June 29, 2020 Plaintiffs each ordered a three bureau credit report from Experian,
      Equifax, and TransUnion to ensure proper reporting by Plaintiffs’ creditors after their
      chapter 13 bankruptcy was completed.
75.   Plaintiffs noticed various delinquent and adverse trade lines on their June 29, 2020
      credit report where Chase was not reporting complete information regarding their
      mortgages, including reporting that the account was subject to a wage earner plan and
      included and/or discharged in bankruptcy.
76.   In addition, the report showed an incomplete payment history making it appear
      ambiguous whether or not payments were being made.
77.   In response, Plaintiffs disputed the Chase trade lines via certified mail with Experian,
      Equifax, and TransUnion.
78.   Mr. Burke sent his dispute on July 8, 2020 and Mrs. Burke sent her dispute on August
      4, 2020.
79.   Plaintiffs’ dispute letters specifically put Defendant Chase on notice that the account
      should not be listed as discharged, included in bankruptcy, and making payments under
      a wage earner plan as the account was not discharged and not currently subject to an
      active bankruptcy case.
80.   The dispute letters also informed Chase that the payment history was incorrect and that
      the mortgage account was not charged off.
81. Plaintiffs are informed and believes that each CRA received Plaintiffs’ dispute letter
      and in response sent Plaintiffs’ dispute to each DF via an ACDV through e-OSCAR.
82. After the statutory time period had elapsed for Plaintiffs to receive a reinvestigation
      report from the credit Bureaus, Plaintiffs ordered a second credit report for the sole
      purpose to ensure Plaintiffs accounts had in fact been updated. Mr. Burke ordered his
      report on August 12, 2020 and Mrs. Burke ordered her report on September 10, 2020.
              Inaccuracy – Chase
83.   Plaintiffs were frustrated to see that Defendant Chase did not properly update the
      account.


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84.   Chase was still reporting the account as included and or discharged in bankruptcy and
      making payments under a wage earner plan despite the account not being included or
      discharged in Plaintiffs’ chapter 13 bankruptcy.
85.   Chase’s reporting is inaccurate because Plaintiffs did not include or seek to discharge
      their mortgage with Chase in their bankruptcy filing.
86.   Chase’s reporting is entirely incomplete, misleading and technically inaccurate.
87.   The reporting is incomplete because the report lacks any updates on the account.
88.   Chase should have updated the CII to report a “Q” as instructed by the CRRG after
      Plaintiffs completed their chapter 13 plan, or at least removed the bankruptcy notations.
89.   As it stands it appears that Chase continues to report the CII “D” making it appear that
      Plaintiffs continue to be in an active bankruptcy and that the account may or may not be
      subject to Plaintiffs’ discharge given that such a discharge has been completed.
90.   To be clear, it is IMPOSSIBLE for accuracy purposes for Chase to accurately report a
      CII “D” after completion of Plaintiffs’ Chapter 13 bankruptcy plan.
91.   The CII “D” should only be reported during an active bankruptcy. Plaintiffs are no
      longer in bankruptcy and the account at issue was: 1) not discharged per the CRRG and
      the bankruptcy code, and 2) not currently in bankruptcy.
92.   To the extent Chase transferred the account, Chase failed to take action to ensure that
      only one tradeline appeared and failed to list which lender assumed control of the
      account.
93.   As a result, Chase should know that the CII “D” cannot possibly be accurate.
94.   Such reporting makes Plaintiffs appear less credit worthy.
             Willfulness
95.   This was not a negligent act by Defendant Chase but instead an intentional act to
      purposefully undermine Plaintiffs’ ability to effectively restore his credit.
96.   Chase’s reporting makes Plaintiffs appear less credit worthy because the lack of any
      update on the account makes it appear that Plaintiffs sought to discharge and include




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      their mortgage in their chapter 13 bankruptcy proceeding and that Plaintiffs remain in
      an active Chapter 13.
97.   Chase knows that its reporting must be accurate and complete.
98.   To the extent Chase may have transferred the account, Chase should have updated the
      CII to a Q upon notice of the dispute and notated who assumed control over the
      account.
99.   Chase did neither, resulting in Plaintiffs’ mortgage appearing as though it is still
      included in an active chapter 13/discharged in bankruptcy.
100. Chase, with knowledge of Plaintiffs’ dispute, chose NOT to update Plaintiffs’ credit
      report and instead still reported that the account was subject to a chapter 13 bankruptcy
      and otherwise may or may not be discharged.
             Damages
101. As a result of the incorrect reporting, Plaintiffs have suffered economic loss, diminished
      credit, and emotional harm.
102. Plaintiffs have been unable to obtain favorable interest rates and suffers from a
      diminished credit score given the inaccurate reporting by Nationstar/Seterus and Chase.
103. Seterus and Chase’s inaccurate reporting negatively impacted Plaintiffs’ ability to obtain
      a mortgage or refinance their property.
104. Plaintiffs are also fearful that any additional credit applications will continue to harm
      their credit score and they will continue to receive unfavorable interest rates until the
      Seterus and Chase tradelines are properly updated.
105. The actions of Experian, Equifax, TransUnion, and Chase as alleged herein are acts in
      violation of the Fair Credit Reporting Act, 15 U.S.C. § 1681s-2(b).
                               FIRST CAUSE OF ACTION
               (Violation of Fair Credit Reporting Act 15 U.S.C. § 1681e(b))
                                     Against Defendants)

      Experian Information Solutions, Inc. and Equifax Information Services, LLC,
      TransUnion LLC – Failure to Assure Credit Reporting Accuracy.




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106. Plaintiffs reallege and incorporate herein the allegation in each and every paragraph
     above as though fully set forth herein.
107. Experian, TransUnion and Equifax violated 15 U.S.C. § 1681e(b) by failing to establish
     and/or to follow reasonable procedures to assure maximum possible accuracy in the
     preparation of Plaintiffs’ credit reports and credit files it published and maintained
     concerning Plaintiff.
108. Had Experian, TransUnion and Equifax maintained reasonable procedures to assure
     maximum accuracy Experian, TransUnion and Equifax would never have allowed
     Defendant Chase to report the account as described herein.
109. Chase appears to be reporting a “CII” that refers to an active bankruptcy.
110. Experian, TransUnion, and Equifax report that Plaintiffs have completed her bankruptcy
     and therefore Experian, TransUnion, and Equifax should know that Chase’s reporting
     cannot possibly be accurate.
111. Even assuming the CRAs are not sophisticated enough to address this obvious
     contradiction, Plaintiffs disputed the accounts and the CRAs still did not fix the issue.
112. Instead, the account remains unchanged.
113. As a result of Experian, TransUnion, and Equifax’s violation of 15 U.S.C. § 1681e(b),
     Plaintiffs suffered actual damages, including but not limited to: diminished credit,
     damage to reputation, embarrassment, humiliation, and other mental and emotional
     distress.
             Willfulness
114. The violations described herein by Experian, TransUnion, and Equifax were willful,
     specifically the Credit Bureaus have intentionally and purposefully set up a system where
     inaccuracies are not only probable but inevitable.
115. In 2012 the FTC reported that 1 in 5 consumer credit reports contains a material error.
116. Such a finding should shock the conscience.
117. When those errors are disputed Equifax, TransUnion, and Experian intentionally send
     consumer disputes to employees who do not live within the continental United States.


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118. This is intentionally done to hide and or subvert a consumer’s ability to confront
     individual directly responsible for approving accurate reporting.
119. Such a policy also inevitably leads to disputes going unresolved as these employees for
     Defendants Experian, TransUnion, and Equifax receive little to know training concerning
     how to accurately report consumer debt.
120. Instead these employees are simply instructed to parrot whatever information a data
     furnisher provides regardless of whether or not that information is accurate. See Saez v.
     Trans Union, LLC, 621 F.Supp. 2d 1074, 1083, 1088 (D.Or. 2007); Grigoryan v.
     Experian Info. Sols., Inc., 84 F. Supp. 3d 1044, 1091 (C.D. Cal. 2014); Haykuhi
     Avetisyan v. Experian Info Sols., No. CV 14-05276-AB (ASX)
121. Experian, TransUnion, and Equifax employees are regularly expected to review and
     approve over 90 disputes per day rendering less than five minutes to review, investigate,
     and respond to each dispute received.
122. Experian, TransUnion, and Equifax have intentionally setup this system in order to
     undermine, hide, and otherwise frustrate consumers’ ability to properly dispute and
     correct credit reports.
123. Experian, TransUnion, and Equifax also allowed Chase to report its accounts with
     inaccurate information despite specifically being told in the dispute letter why the
     information Chase was reporting was incorrect.
124. All three CRAs are members of the consumer data industry association
125. The consumer data industry association has specifically briefed and AGREED with
     Plaintiffs that the reporting of the Chase account in the present matter is inaccurate. See
     Brief for the Consumer Data Industry Association as Amicus Curia in Support of
     Defendents-Appellees in Alan R. Riekki v. Bayview Financial Loan Servicing, et al., Case
     No 16-16438 in The United States Court of Appeals For the Ninth Circuit.
126. Despite the CRAs having actual knowledge of Plaintiffs’ bankruptcy, Chase reporting the
     accounts included in an ongoing bankruptcy, and the bankruptcy actually being closed,




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     Experian, TransUnion, and Equifax continue to allow Chase to report the accounts included
     and discharged in bankruptcy.
127. Not only are Experian, TransUnion, and Equifax allowing Chase to report in a manner that
     they know is factually impossible (an account cannot be included in an on-going
     bankruptcy if the bankruptcy has been closed) but in a manner the CDIA has specifically
     briefed as inaccurate.
128. As a result, Experian, TransUnion, and Equifax are allowing Chase to report in a manner
     they know is factually and legally inaccurate.
129. Consequently, Defendants Experian, TransUnion, and Equifax are liable for punitive
     damages in an amount to be determines by the Court pursuant to 15 U.S.C. § 1681n.
130. In the alternative, Experian, TransUnion, and Equifax were at least negligent, which
     entitles Plaintiffs to recovery under 15 U.S.C. § 1681o.
131. Plaintiffs are entitled to recover actual damages, statutory damages, costs and attorney’s
     fees from Experian, TransUnion, and Equifax in an amount to be determines by the Court
     pursuant to 15 U.S.C. § 1681n and § 1681o.


                             SECOND CAUSE OF ACTION
              (Violation of Fair Credit Reporting Act 15 U.S.C. § 1681s-2(b))
                                    Against Defendants)
     Chase – Failure to Reinvestigate.
132. Plaintiffs reallege and incorporate herein the allegation in each and every paragraph
     above as though fully set forth herein.
133. 15 USC 1681s-2(b) and 15 USC 1681i-(a)1 prohibits furnishers from providing any
     information relating to a consumer to any consumer reporting agency if the person knows
     or has reasonable cause to believe that the information is inaccurate or misleading and
     requires a furnisher to update and or correct inaccurate information after being notified
     by a consumer reporting agency of a dispute by a consumer.
134. Defendant Chase violated section 1681s-2(b) by failing to conduct a reasonable
     investigation and re-reporting misleading and inaccurate account information.


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135. The CRAs provided notice to Chase that Plaintiff was disputing the inaccurate and
     misleading information but Chase failed to conduct a reasonable investigation of the
     information as required by the FCRA.
136. Based on Plaintiffs’ dispute, Chase should have known that its reporting was incomplete
     as Plaintiffs’ dispute letter highlighted the problems with the tradelines.
137. The most basic investigation would simply involve reading Plaintiffs’ dispute.
138. Plaintiffs allege Chase did not review well established industry standards for credit
     reporting.
139. If Chase had reviewed such standards Chase would have seen its reporting was not in
     compliance and in accordance with the CRRG and consequently inaccurate and or
     incomplete.
140. Moreover, had Chase done any investigation whatsoever it would have uncovered that its
     reporting showed an active bankruptcy when in fact Plaintiffs were not actually in
     bankruptcy at all.
141. The lack of investigation is unreasonable.
142. Plaintiffs further allege that Chase have not properly trained those directly investigating
     disputes on Metro 2 generally or credit reporting industry standards and as such have
     developed reckless policies and procedures.
     Experian, TransUnion, and Equifax – Failure to Reinvestigate Disputed
     Information.
143. Plaintiffs re-allege and incorporate herein the allegations in each and every paragraph
     above as though fully set forth herein.
144. After Plaintiffs disputed the accounts mentioned above, Experian, TransUnion, and
     Equifax were required to conduct a reasonable investigation and to delete any
     information that was not accurate under 15 USC 1681i-(a)1.
145. Experian, TransUnion, and Equifax failed to conduct a reasonable investigation and
     failed to correct the misleading and or inaccurate statements on the account within the
     statutory time frame or at all.


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146. Experian, TransUnion, and Equifax could not have possibly done any type of
     reasonable investigation into this matter as Plaintiffs explicitly explained that the
     Chase accounts were not included or discharged in their bankruptcy and provided
     verification that ongoing payments were being made on their account.
147. Plaintiffs allege that Experian, TransUnion, and Equifax have its own independent
     duty to conduct a reasonable investigation 15 USC 1681i-(a)1.
148. Experian, TransUnion, and Equifax are not passive entities bound to report whatever
     information a DF provides.
149. Given the aforementioned, Plaintiffs allege that Experian, TransUnion, and Equifax
     can and do suppress inaccurate information from being reported when DFs provide
     inaccurate information.
150. Experian, TransUnion, and Equifax can and do instruct DFs on how to properly
     report certain accounts from time to time upon request from the DF.
151. Experian, TransUnion, and Equifax failed to conduct a reasonable investigation
     because any basic investigation would have included a review of Plaintiffs’ dispute
     letters.
152. Experian, TransUnion, and Equifax therefore did not do the most basic investigation
     regarding credit reporting industry standards otherwise the aforementioned would
     have been uncovered.
153. Experian, TransUnion, and Equifax intentionally, willfully or with reckless disregard
     for Plaintiffs’ accuracy did no investigation whatsoever given that Experian,
     TransUnion, and Equifax’s general policy is to simply parrot whatever information a
     data furnisher sends.
154. Such policy and procedure inherently leads to inaccurate information being reported
     and therefore such an investigation is wholly unreasonably and reckless i.e. willful.


                                THIRD CAUSE OF ACTION
                (Violation of Fair Credit Reporting Act 15 U.S.C. § 1681i(a)(4))
                                      Against Defendants)


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     Experian, TransUnion, and Equifax – Failure to Review and Consider All
     Relevant Information.

155. Plaintiffs reallege and incorporate herein the allegation in each and every paragraph
     above as though fully set forth herein.
156. Experian, TransUnion, and Equifax violated 15 U.S.C. § 1681i(a)(4) by failing to review
     and consider all relevant information submitted by Plaintiffs.
157. As a result of Experian, TransUnion, and Equifax’s violation of 15 U.S.C. § 1681i(a)(4),
     Plaintiffs suffered actual damages, including but not limited to, damage to reputation,
     embarrassment, humiliation, and other mental and emotional distress.
158. The violations by Experian, TransUnion, and Equifax were willful, rendering each of the
     Defendants individually liable for punitive damages in an amount to be determines by the
     Court pursuant to 15 U.S.C. § 1681n.
159. In the alternative Experian, TransUnion, and Equifax were negligent, which entitles
     Plaintiffs to recovery under 15 U.S.C. § 1681o.
160. Plaintiffs are entitled to recover actual damages, statutory damages, costs and attorney’s
     fees from Equifax, TransUnion, and Experian in an amount to be determines by the Court
     pursuant to 15 U.S.C. § 1681n and § 1681o.
                            FOURTH CAUSE OF ACTION
           (Violation of Fair Credit Reporting Act 15 U.S.C. § 1681i(a)(5)(A))
                                   Against Defendants)

     Experian, TransUnion, and Equifax– Failure to Delete Disputed and Inaccurate
     Information.

161. Plaintiffs re-allege and incorporates herein the allegation in each and every paragraph
     above as though fully set forth herein.
162. Experian, TransUnion, and Equifax violated 15 U.S.C. § 1681i(a)(5)(A) by failing to
     promptly delete the disputed inaccurate items of information from Plaintiffs’ credit file or
     modify the item of information upon a lawful reinvestigation.




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 163. As a result of Experian, TransUnion, and Equifax’s violation of 15 U.S.C. §
       1681i(a)(5)(A), Plaintiffs suffered actual damages, including but not limited to, damage
       to reputation, embarrassment, humiliation, and other mental and emotional distress.
 164. The violations by Experian, TransUnion, and Equifax were willful, rendering each of the
       Defendants individually liable for punitive damages in an amount to be determines by the
       Court pursuant to 15 U.S.C. § 1681n.
 165. In the alternative, Experian, TransUnion, and Equifax were negligent, which entitles
       Plaintiffs to recovery under 15 U.S.C. § 1681o.
 166. Plaintiffs are entitled to recover actual damages, statutory damages, costs and attorney’s
       fees from Experian and Equifax in an amount to be determines by the Court pursuant to
       15 U.S.C. § 1681n and § 1681o.
      Wherefore, Plaintiffs pray for judgment as hereinafter set forth.
                                   PRAYER FOR RELIEF
      WHEREFORE, Plaintiffs pray for judgment as follows:
          1. For preliminary and permanent injunctive relief to stop Defendants from
              engaging in the conduct described above;
          2. Award statutory and actual damages pursuant to 15 U.S.C. § 1681n;
          3. Award punitive damages in order to deter further unlawful conduct pursuant to
              15 U.S.C. § 1681n;
          4. Award attorney’s fees and costs of suit incurred herein pursuant to 15 U.S.C. §
              1681n & o;
          5. For determination by the Court that Creditor’s policies and practices are
              unlawful and in willful violation of 15 U.S.C. § 1681n, et seq.; and
          6. For determination by the Court that Creditor’s policies and practices are
              unlawful and in negligent violation of 15 U.S.C. § 1681o.


                                     Gale, Angelo, Johnson, & Pruett, P.C.

Dated: October 2, 2020                              /s/ Elliot Gale


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                                            Elliot Gale
                                            Attorney for Plaintiffs
                               DEMAND FOR JURY TRIAL

       Plaintiffs hereby demand trial of this matter by jury.

                                             Gale, Angelo, Johnson, & Pruett, P.C.
Dated: October 2, 2020                              /s/ Elliot Gale
                                                    Elliot Gale
                                                    Attorneys for Plaintiffs




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